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                                   UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA, MIAMI DIVISION

RE:     PEDRO PRUDENCIO RODRIGUEZ ALVAREZ                                                    CASE NUMBER: 23-15472 - LMI

                    TRUSTEE'S NOTICE OF DEFICIENCY AND RECOMMENDATION
                      (If this case is dismissed, this deficiency is an objection to reinstate)

The Trustee reviewed this case and found the following deficiencies remain unresolved from the Trustee’s
letter or requirements under the Bankruptcy Code and Rules. The Trustee reserves the right to raise additional
objections UNTIL all documents are provided to the Trustee and reviewed for issues raised and additional
documents needed. See Court Notice of Commencement for additional information and Trustee’s
website www.CH13miami.com for forms and procedures.

As appropriate, all written responses or documents must be received through BKDOCS.US or filed with the
Clerk by 5pm at least 15 days prior to the first confirmation hearing or agreed deadline if confirmation is
continued. Pro Se debtors may fax documents to 954-443-4452. Late documents may not be reviewed or
considered, and this case may be at risk of dismissal. The Trustee’s Office has a “Pre-call” date, THE
THURSDAY PRIOR TO THE HEARING. During this period, the Debtor’s or Creditor’s attorney must call
and speak to the Trustee’s staff attorney unless they agree to the Trustee’s recommendation. A final calendar
will be published with any changes to this recommendation the day before the hearing on the front page of the
Trustee’s website.

      ***RECOMMENDATIONS ARE CHANGED UPON REVIEW OF DOCUMENTS NOT RECEIPT***

TRUSTEE’S RECOMMENDATION FOR HEARING:
                                                                                          LAST REVIEWED: 10/24/2023

1AP served 8/22
If debtor’s counsel appears, confirms service, agrees to vesting and the recommendation on the record:
Continue to 12/5:
Due on or before 11/14: Remains unresolved from 9/12: 1) Provide explanation as to what happened to the
Debtor’s business assets – letter received indicates business stopped operating in 2021 and 2) Provide evidence
of the following Schedule J expenses on Lines: 21 (date of filing credit card statements reflecting total payment
due      on    each–evidence       of    payments      made      in    bank      statement     is     insufficient)




I hereby certify that a true and correct copy of the foregoing was served through ECF on the debtor’s attorney or by U.S. First Class
pre-paid Mail on the pro se debtor on the same day filed with the Court.

                                                                  Submitted by:
                                                                  NANCY K. NEIDICH, ESQ, STANDING CHAPTER 13 TRUSTEE
                                                                  P.O. BOX 279806, MIRAMAR, FL 33027, (954) 443-4402
